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 1 JOSEPH H. HUNT
   Assistant Attorney General
 2 Civil Division
 3 WILLIAM C. PEACHEY
   Director, District Court Section
 4
   Office of Immigration Litigation
 5 WILLIAM C. SILVIS
   Assistant Director, District Court Section
 6
   Office of Immigration Litigation
 7 SARAH B. FABIAN
   Senior Litigation Counsel
 8
   NICOLE N. MURLEY
 9 Trial Attorney
   District Court Section, Office of Immigration Litigation
10
   U.S Department of Justice
11 P.O. Box 868, Ben Franklin Station
   Washington, D.C. 20044
12
   Phone: (202) 616-0473
13 Fax: (202) 305-7000
   Email: Nicole.Murley@usdoj.gov
14
15 ADAM L. BRAVERMAN
   United States Attorney
16
   SAMUEL W. BETTWY
17 Assistant U.S. Attorney
18 California Bar No. 94918
   Office of the U.S. Attorney
19 880 Front Street, Room 6293
20 San Diego, CA 92101-8893
   619-546-7125
21 619-546-7751 (fax)
22
23 Attorneys for Federal Respondents
24
25
26
27
28
                                                1
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 1

 2                                UNITED STATES DISTRICT COURT

 3                             SOUTHERN DISTRICT OF CALIFORNIA

 4
     N.T.C., et al.                                 Case No. 3:18-Cv-1626-DMS-JLB
 5
                      Petitioner-Plaintiff,
 6                                                  Joint Status Report
           vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,

 9                    Respondents-Defendants.

10
           The Court ordered the parties to file a joint status report on October 9, 2018. The
11
     parties submit this joint status report in accordance with the Court’s instruction.
12
     Defendants’ Position:
13
           Defendants provide the following updated information about the 100 individual
14
     minors about whom Plaintiffs’ counsel have requested information in N.T.C. Defendants
15
     have not been able to identify 4 of the 100 individual minors as children of adults who could
16
     be Ms. L. class members. The data below on the remaining 96 of 100 minors reflects
17
     approximate numbers maintained by ORR as of at least October 9, 2018. These numbers
18
     are dynamic and continue to change as the reunification process moves forward.
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22                                                 2
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 1                                                                  Phase 2
                         Description                      Phase 1   (5 and    Total
                                                          (Under 5) above)
 2
       Total number of possible children of potential     4         92        96
 3     Ms. L class members in NTC
                                       Discharged Children
 4     Total children discharged from ORR care:           2        80         82
 5        • Children discharged by being reunified
                                                          1        58         59
             with separated parent
 6        • Children discharged under other
             appropriate circumstances (these include
 7           discharges to other sponsors [such as
                                                          1        22         23
             situations where the child’s separated
 8           parent is not eligible for reunification] or
             children that turned 18)
 9                           Children in ORR Care, Parent in Class
       Children in care where the parent is not eligible
10     for reunification or is not available for discharge 0        3         3
       at this time:
11     • Parent presently outside the U.S.           0            3           3
       • Parent presently inside the U.S.            0            0           0
12
                          Children in ORR Care, Parent out of Class
13     Children in care where further review shows
       they were not separated from parents by DHS        1         2         3
14
       Children in care where a final determination has 0           2         2
       been made they cannot be reunified because the
15     parent is unfit or presents a danger to the child
       Children in care with parent presently departed    1         4         5
16     from the United States whose intent not to
       reunify has been confirmed by the ACLU
17
       Children in care with parent in the United States 0          1         1
       who has indicated an intent not to reunify
18

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 1 Plaintiffs’ Position:

 2         According to the last report from the government, checked against Plaintiffs’ records,

 3 fourteen children remain in ORR custody:

 4         Thirteen children are seeking release to individuals other than the parent from whom

 5 they were separated.

 6         One child seeks return to home country.

 7

 8 DATED: October 15, 2018                 Respectfully submitted,

 9
                                           /s/ Nicole N. Murley
10                                         NICOLE N. MURLEY
                                           Trial Attorney
11                                         Office of Immigration Litigation
                                           Civil Division
12                                         U.S. Department of Justice
                                           P.O. Box 868, Ben Franklin Station
13                                         Washington, DC 20044
                                           (202) 532-4824
14                                         (202) 616-8962 (facsimile)
                                           Nicole.Murley@usdoj.gov
15
                                           ADAM L. BRAVERMAN
16                                         United States Attorney
                                           SAMUEL W. BETTWY
17                                         Assistant U.S. Attorney

18                                         Attorneys for Respondents-Defendants

19
                                           Jennifer Levy (admitted pro hac vice)
20                                         JLevy@legal-aid.org
                                           Gregory Copeland (admitted pro hac vice)
                                           GCopeland@legal-aid.org
21                                         Elizabeth Rieser-Murphy (admitted pro hac vice)
                                           ERieser-Murphy@legal-aid.org
22                                                4
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 1                                      THE LEGAL AID SOCIETY
                                        199 Water St.
                                        New York, N.Y. 10038
 2                                      Telephone: (844) 955-3425
                                        Facsimile: (212) 509-8914
 3                                      Harrison J. Frahn (State Bar No. 206822)
                                        hfrahn@stblaw.com
 4                                      SIMPSON THACHER & BARTLETT LLP
                                        2475 Hanover Street
                                        Palo Alto, California 94304
 5                                      Telephone: (650) 251-5000
                                        Facsimile: (650) 251-5002
 6                                      Attorneys for Plaintiffs
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